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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
ROBERT WINNER, ET AL.,
Plaintiffs,
V. CASE NO.: 1:20-CV-03420-ELH

KELCO FEDERAL CREDIT UNION,

      

Defendant. A. David Opperthite

United Sthtes Magistrate Judge
MOTION TO STRIKE APPEARANCE OF COUNSEL
Kelco Federal Credit Union, Defendant, by and through its counsel, T. Lee Beeman, Jr.,
Buckel, Levasseur, Pillai & Beeman, LLC, Ramon Roazas, IIl., Esq., and Rozas Law Office,
LLC., hereby moves this Court to strike the appearance of Defendant’s counsel, T. Lee Beeman,
Jr. Esq., and Buckel, Levasseur, Pillai and Beeman, LLC., and in support therefore states the

following:

1. On January 25, 2021, Defendant filed with the Court a Consent Order granting

Substitution of Attorney [ECF008].

24 By said Consent Order granting Substitution of Attorney, Defendant’s party
representative, Gil Frankenberry; T. Lee Beeman, Jr.; and Ramon Rozas, III, consented to the

substitution of Ramon Rozas, III., for T. Lee Beeman, Jr. The Order was not signed by a judge.

3. Since the time of the substitution of counsel, Mr. Beeman has had no involvement
in this case and pending matters. Defendants have been represented by Ramon Rozas, III and

Rozas Law Office, LLC.
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4. Plaintiffs, through counsel, consent to striking the appearance of T. Lee Beeman

Jr., and Buckel, Levasseur, Pillai & Beeman, LLC.

WHEREFORE, Defendant seeks to strike the appearance of T. Lee Beeman, Jr., and

Buckel, Levasseur, Pillai and Beeman, LLC., as counsel of record for Defendant, effective

January 25, 2021.

Respectfully submitted,

ist
T. Lee Beeman, Jr., Bar Number:
19613
Buckel, Levasseur,
Pillai & Beeman, LLC
206 Washington, Street
Cumberland, Maryland 21502
Tel: (301) 759-3700

Email: Ibeeman@blpblaw.com
Co-Counsel for Defendant

Respectfully submitted,

is/
Ramon Rozas, III,
Bar Number: 25481
Rozas Law Office, LLC
103 S. Centre Street
Cumberland, Maryland 21502
Tel: (301) 759-1304

Email: rrozas@rozaslawoffice.com
Co-Counsel for Defendant
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 26" day of April, 2021, a true and correct copy of the
foregoing was served by e-mail on the following:

Stephen Skinner, Esq.
sskinner@skinnerfirm.com

Ramon Rozas, III, Esq.
trozas(@rozaslawoffice.com

isi
T. Lee Beeman, Jr., Bar Number:
19613
